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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

ANGELA PABON,                                     )
                                                  )
        Plaintiff,                                )
                                                  )
        v.                                        )       No.:
                                                  )
COMMERCIAL RECOVERY                               )
SYSTEMS, INC.,                                    )
                                                  )
        Defendant.                                )

                                          COMPLAINT

        ANGELA PABON (Plaintiff), by and through his attorneys, the LAW OFFICES OF

MATTHEW W. KIVERTS, alleges the following against COMMERCIAL RECOVERY

SYSTEMS, INC. (Defendant):

                                        INTRODUCTION

        1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act,

15 U.S.C. 1692 et seq. (FDCPA).

        2.      Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  JURISDICTION AND VENUE

        3.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

        4.      Defendant conducts business in the State of Illinois, and therefore, personal

jurisdiction is established.

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        5.        Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

        6.        Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                               PARTIES

        7.        Plaintiff is a natural person residing in the City of Skokie, County of Cook, and

State of Illinois.

        8.        Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C.

1692a(5).

        9.        Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and

sought to collect a consumer debt from Plaintiff.

        10.       Plaintiff is informed and believes, and thereon alleges, that Defendant is a

national company with its corporate office located in the City of Dallas, County of Dallas, and

State of Texas.

        11.       Defendant is a collection agency that in the ordinary course of business,

regularly, on behalf of itself or others, engages in debt collection.

                                    FACTUAL ALLEGATIONS

        12.       Defendant places collection calls to Plaintiff seeking and demanding payment on

an alleged Citibank credit card debt.

        13.       Defendant places collection calls to Plaintiff’s cellular telephone.

        14.       Defendant, on or about November 29, 2012, placed a collection call to Plaintiff.

        15.       Plaintiff, on or about November 29, 2012, answered a collection call from

Defendant and spoke with an unidentified female collection agent, who asked Plaintiff to

confirm her identity.
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        16.    On or about November 29, 2012, Defendant’s unidentified female collection

agent told Plaintiff she was calling her about a Citibank credit card debt that she owed, but

failed to identify Defendant by name and failed to disclose to Plaintiff that Defendant was a debt

collector.

        17.    On or about November 29, 2012, Defendant’s unidentified female collection

agent told Plaintiff that she had tried to reach her many times, but when asked by Plaintiff when

those attempts were made, Defendant’s unidentified female collection agent refused to answer

Plaintiff’s question.

        18.    On or about November 29, 2012, Defendant’s unidentified female collection

agent, in response to Plaintiff’s repeated requests for information about the alleged debt, told

Plaintiff that she had an affidavit saying that she (Plaintiff) refused to pay the debt.

        19.    On or about November 29, 2012, Plaintiff, in response to Defendant’s allegations

of the existence of an affidavit, informed Defendant that the debt is not hers, that she was the

victim of identity theft, and demanded to see something in writing from Defendant that allegedly

shows her signature on the credit application, to which Defendant’s unidentified collection agent

told Plaintiff angrily that it was not her job to do that, and told Plaintiff that if she did not pay,

Defendant would garnish her wages.

        20.    On or about November 29, 2012, Plaintiff, in response to the threats of wage

garnishment by Defendant’s unidentified collection agent, attempted to ask more questions, but

Defendant’s unidentified collection agent abruptly hung up on Plaintiff.

        21.    On or about December 17, 2012, Defendant placed a collection call to Plaintiff’s

home telephone and one of its collection agents, who identified herself as “Kimberly Smith”,

told Plaintiff that she was calling from Citibank and that she (Plaintiff) owed a debt.
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       22.     On or about December 17, 2012, one of Defendant’s collection agents, while on

the telephone with Plaintiff, failed to identify the Defendant by its true/correct name and failed

to disclose to Plaintiff that Defendant is a debt collector and any information gathered would be

used for that purpose.

       23.     Defendant has not sent, and as of January 2, 2013, Plaintiff has not received, a

thirty (30) day validation notice from Defendant.

                                             COUNT I

    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT


       24.     Plaintiff re-alleges and incorporates by reference herein, paragraphs 1-23.

       25.     Defendant violated the FDCPA based on the following:

               a.        Defendant violated §1692d(6) of the FDCPA by placing collection calls

       to Plaintiff that fail to properly identify Defendant by name and disclose Defendant’s

       identity as a debt collector to Plaintiff.

               b.        Defendant violated §1692e of the FDCPA by engaging in false,

       deceptive, misleading representations and means of debt collection by calling from

       unknown numbers and numbers that do not show up on her caller ID; by threatening to

       garnish Plaintiff’s wages despite the fact that no judgment exists and Defendant does not

       have the legal authority to do so; and, by falsifying its identity in communications with

       Plaintiff by using a name other than its own.

               c.        Defendant violated §1692e(2) of the FDCPA by falsely misrepresenting

       the character and legal status of the alleged debt when its collection agent threatened to

       garnish Plaintiff’s wages, despite the fact that no judgment exists and Defendant does

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not have the legal authority to garnish Plaintiff’s wages; and, when that same collection

agent falsely claimed to have a signed affidavit stating that Plaintiff refused to pay the

alleged debt.

       d.       Defendant violated §1692e(3) of the FDCPA when one of its collection

agents insinuated that she was an attorney when she threatened to garnish Plaintiff’s

wages and falsely proclaimed to have a signed affidavit.

       e.       Defendant violated §1692e(4) of the FDCPA when its collection agent

threatened repeatedly to garnish Plaintiff’s wages if she did not pay the alleged debt.

       f.       Defendant violated §1692e(5) of the FDCPA by threatening to garnish

Plaintiff’s wages, despite the fact that no judgment exists and Defendant does not have

the legal ability or authority to garnish Plaintiff’s wages.

       g.       Defendant violated §1692e(10) of the FDCPA by utilizing false and

deceptive means in an attempt to collect the alleged debt from Plaintiff, when its

collection agents repeatedly threatened Plaintiff with wage garnishment, falsely claimed

to have an affidavit that states Plaintiff refused to pay the debt; and, by continually

demanding payment on an alleged debt that Plaintiff repeatedly said is not hers, as she is

the victim of identity theft, and refusing to send her anything in writing to prove that the

debt is own that she legitimately/legally owes.

       h.       Defendant violated §1692e(11) of the FDCPA when its collection agent

repeatedly failed to properly identify Defendant by name during the calls placed to

Plaintiff; and, when its collection agent failed to identify Defendant as a debt collector

and failed to provide the mini-Miranda warning:           “this is an attempt to collect a

debt…and all information will be used for that purpose.”
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              i.        Defendant violated §1692e(14) of the FDCPA by using a name other than

      its own in communication by phone with Plaintiff, in that on or about

      December 17, 2012, Defendant’s collection agent identified herself as being with

      Citibank.

              j.        Defendant violated §1692f of the FDCPA by engaging in unfair and

      unconscionable means in an attempt to collect the alleged debt from Plaintiff when its

      collection agent repeatedly failed to identify itself (by name) and failed to identify

      Defendant as a debt collector; by threatening to garnish Plaintiff’s wages; by falsely

      claiming to have a signed affidavit which states that Plaintiff refused to pay the debt;

      and, by continually demanding payment on an alleged debt and refusing to provide

      Plaintiff with any written proof that she owed that alleged debt after she requested it

      following disclosure to Defendant that her identity had been compromised and a denial

      that she incurred that debt.

              k.        Defendant violated §1692g of the FDCPA by failing to send Plaintiff a

      thirty (30) day validation notice within five (5) days of the initial communication it had

      with Plaintiff.

      WHEREFORE, Plaintiff, ANGELA PABON, respectfully requests judgment be entered

against Defendant, COMMERCIAL RECOVERY SYSTEMS, INC., for the following:

      26. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection

          Practices Act;

      27. Statutory Damages of $1000.00 pursuant to the Fair Debt Collection Practices Act,

          15 U.S.C. 1692k;

      28. Actual damages;
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29. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

   Act, 15 U.S.C. 1692k; and,

30. Any other relief that this Honorable Court deems appropriate.



                             RESPECTFULLY SUBMITTED,

                             By: /s/ Matthew W. Kiverts
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